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                                        #:50


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 5 Counsel for Plaintiff Emmanuel Oludele

 6

 7                         UNITED STATES DISTRICT COURT
 8
                         CENTRAL DISTRICT OF CALIFORNIA
 9

10   EMMANUEL OLUDELE,                           Case No. 2:17-cv-06810-DMG-FFM
     Individually and on Behalf of All
11   Others Similarly Situated,
12                          Plaintiff,
                                                   NOTICE OF VOLUNTARY
13                 v.                            DISMISSAL PURSUANT to FED
                                                     R. Civ. P. 41(a)(1)(A)
14   MONSTER DIGITAL, INC., DAVID
     H. CLARKE, STEVEN C. BARRE,
15   ROBERT B. MACHINIST,
     CHRISTOPHER M. MINER, and
16   JONATHON CLARKS,
17   Defendants.
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           Notice is hereby given pursuant to Rule 41(a)(1)(A) of the Federal Rules of Civil
23
     Procedure that plaintiff Emmanuel Oludele (“Plaintiff”) voluntarily dismisses the
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     captioned action (the “Action”) with prejudice as to Plaintiff only and without
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     prejudice as to the putative class in the Action. Because this notice of dismissal is
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     being filed with the Court before service by Defendants of either an answer or a motion
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               NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)
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                                       #:51



 1 for summary judgment, Plaintiff’s dismissal of the Action is effective upon the filing

 2 of this notice.

 3 November 15, 2017

 4
                                                     /s/ David E. Bower
 5                                                       David E. Bower SBN 119546
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               NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)
